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                          FAIR LABOR STANDARDS ACT SETTLEMENT AGREEMENT

                     This General Release and Settlement Agreement, hereinafter “Agreement,” is by and

            between by and between Tyler Aposhian, an adult individual hereinafter “Plaintiff,” and Stanley

            Wolfson, Ruschmeyer Hospitality Group LLC, the Real Hospitality Group, LLC., John

            Parker, Ben Seidel, Steven Goldman on behalf of themselves and their past, present, and future

            affiliates, partners, stockholders, successors, assigns, officers, directors, owners, managers,

            members, joint ventures, insurers and reinsurers, attorneys, agents, representatives, employees,

            former employees, and any other person, firm or corporation with whom any of it is now or may

            hereafter be affiliated, in their individual capacities as such, (hereinafter “Defendants”),

            collectively “the parties.”

                                                     BACKGROUND

                     WHEREAS, Plaintiff filed an action in the Federal District Court for the Southern District

            of New York, 2:20-cv-04349-GRB-ARL Aposhian v. Wolfson et al (the “Lawsuit”) against

            Defendants, alleging certain violations of the Fair LaborStandards Act 29 U.S.C. § 201 et seq., and

            the New York Labor Law for Defendant’s alleged failure to pay wages and provide certain wage

            notices, and Defendants denied those claims.

                     WHEREAS, the terms of this Agreement are the result of mutual negotiations and

            compromise between Defendants and Plaintiff through their respective counsel and reflects a

            desire of Plaintiff and Defendants to enter into this Agreement to resolve any and all disputes and

            claims between them.

                     WHEREAS, to the extent there may be monies owed to Plaintiff under the Fair Labor

            Standards Act and/or the New York Labor Law, the Parties acknowledge there is a genuine good

            faith dispute over, among other things, the number of hours worked by the Plaintiff; and,
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                     WHEREAS, the meaning, effect and terms of this Agreement have been fully explained

            to Plaintiff and Defendants by their own counsel, and Plaintiff understands that by entering into

            this Agreement she waives with prejudice any and all charges, claims, actions or causes of action

            against Defendants including, without limitation, those filed in the action captioned above.

                     NOW, THEREFORE, for the consideration of the mutual promises, covenants, and

            conditions contained herein and other valuable consideration, the sufficiency of which is hereby

            acknowledged, the Parties agree as follows:

                     1. No Admission of Liability: Plaintiff and Defendants acknowledge and agree that the

            parties are entering into this Agreement to avoid the costs and risks of further litigation and to

            amicably settle all differences between them, and that neither this Agreement nor the furnishing of

            the consideration for this Agreement shall be deemed or construed as an admission byDefendants

            of any liability, or violation.

                     2. Specific Wage and Hour Release by Plaintiff: In consideration for payment of the

            Settlement Amount and Defendants’ obligations contained herein, Plaintiff agrees to irrevocably

            and unconditionally release, acquit, and forever discharge Defendants and their parents,

            subsidiaries, members, managers, officers and directors of and from any and causes of action

            arising under the Fair Labor Standards Act asserted in the Complaint in the Lawsuit.

                   The Parties understand and agree nothing in this Agreement is intended to waive claims (i)

            for unemployment or workers’ compensation benefits, (ii) for vested rights under ERISA-covered

            employee benefit plans as may be applicable on the date Plaintiff signs this Agreement, (iii) that

            may arise after Plaintiff signs this Agreement, or (iv) which cannot be released by private

            agreement.

                   Furthermore, the Parties agree that the Plaintiff is not waiving any claims arising under the

            New York Labor Law asserted in the Complaint in the Lawsuit (the “NYLL Claims”). The Parties

            agree that the NYLL Claims will be withdrawn without prejudice and that statute of limitations on
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            any NYLL claims asserted in the Complaint in the Lawsuit will be tolled for a period of six (6)

            months from the date the Court approves this Agreement and endorses the voluntary stipulation of

            dismissal.

                     For the avoidance of doubt, nothing in this Release nor any other provision of this

            Agreement is intended to affect, nor shall it be interpreted to affect, the right of any individuals

            apart from the Parties as defined above.


                     3. Payment Terms: In consideration of the limited FLSA unpaid wage release in this Agreement,

            within Fourteen (14) calendar days of the Court’s approval of this Agreement, the Defendants

            shall make a payment of One Thousand Five Hundred and Zero Cents Dollars ($1,500.00) as follows:

                         a. The Defendants shall issue a check to El-Hag & Associates, PC in the amount of

                             $500 as and for attorney fees and expenses, which shall not be subject to tax

                             withholding or payroll deductions, for which Defendants will issue an IRS Form

                             1099 El-Hag & Associates, PC. This Payment shall be divided as follows:

                                    •   Defendants Wolfson and/or Ruschmeyer Hospitality Group LLC shall pay

                                        $250.00.

                                    •   Defendants Real Hospitality Group LLC and/or Parker, Seidel or Goldman shall

                                        pay $250.00.

                         b. The Defendants shall issue a check to Tyler Aposhian in the amount of Five

                             Hundred and Zero Cents Dollars ($500.00), subject to payroll withholding taxes

                             and deductions, reported on IRS W-2 form for unpaid wages. This settlement

                             payment will be divided equally as follows:

                                    •   Defendants Wolfson and/or Ruschmeyer Hospitality Group LLC shall pay

                                        $250.00.

                                    •   Defendants Real Hospitality Group LLC and/or Parker, Seidel or Goldman shall

                                        pay $250.00.
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                         c. The Defendants shall issue a check to Tyler Aposhian in the amount of Five

                               Hundred and Zero Cents Dollars ($500.00) as and for liquidated damages, which

                               shall not be subject to tax withholding or payroll deductions, for which Defendants

                               will issue an IRS Form 1099 to Tyler Aposhian. This settlement payment will be

                               divided equally as follows:

                                    •   Defendants Wolfson and/or Ruschmeyer Hospitality Group LLC shall pay

                                        $250.00.

                                    •   Defendants Real Hospitality Group LLC and/or Parker, Seidel or Goldman shall

                                        pay $250.00.

                     4. Consideration: The Plaintiff acknowledges that: (a) the payments, rights and benefits

            being made hereunder by the Defendants are being accepted by the Plaintiff as good and valuable

            consideration to resolve a disputed claim, (b) this Agreement is intended as a full settlement and

            release of all of the Plaintiff’s rights, entitlements, claims, actions or causes of action against

            Defendant arising from the allegations she raised in the Lawsuit. (c) unless specifically provided

            for in this Agreement, the Defendants shall not and will not have any other liability or obligation

            to the Plaintiff, now or in the future for any reason whatsoever arising fromactions specifically as

            set forth above.

                     5. Order of Court Approval: Upon execution of this Agreement, the Parties will present

            this Agreement to the Court for its approval. The Parties agree to cooperate with one another in

            the preparation of any paperwork which may be necessary to obtain Court approval of this

            Agreement, although it is understood and agreed that Plaintiff shall bear the primary responsibility

            for drafting the Parties’ joint letter to the Court. In the event the Court fails to approve the

            Agreement and enter an order of dismissal of the Lawsuit in accordance with this Agreement, the

            parties shall meet and confer to discuss the Parties’ next course of action.

                     6. Prevailing Party: Plaintiff and Defendants expressly acknowledge that this settlement

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            agreement shall not be used in the future, as the basis of an application for costs or attorney’s fees

            to prove that either party is the "prevailing party" for the purposes of this litigation.

                     7. [Intentionally Left Blank].

                     8. Taxes: It is further agreed by and between the Parties that the Plaintiff shall be fully

            responsible for any State or Federal employee paid taxes that may be finally determined to be

            owing, as a result of Plaintiff’s individual tax liability, by any taxing authority as a result of the

            cash settlement payment described herein. Plaintiff agrees to be responsible for any such taxes and

            Plaintiff agrees to indemnify, defend and hold the Defendants harmless from any claims for

            additional taxes, penalties and/or interest that any such taxing authority may finally assess, except

            if the IRS determines that standard employer FICA/FUTA or similar federal or state taxes paid by

            Defendants as part of W-2 wages are due as set forth above in paragraph 3(a).

                     9. [Intentionally Left Blank].

                     10. [Intentionally Left Blank].

                     11. Neutral Reference: Defendants agree to provide a neutral reference for Plaintiff to

            prospective employers consisting of confirmation of title and dates of employment; prospective

            employers will be told that it is the policy of Defendants to provide no further information.

                     12. Attorneys’ Fees and Costs: This Agreement effectuates settlement as to all claims

            including any claim for attorney’s fees and costs, which the Plaintiff may have been entitled to

            recover under federal and/or state law. The Parties shall each bear their own costs, fees and

            expenses incurred in connection with the Action and in the preparation of this Agreement, except

            as expressly set forth in the Agreement.

                     13. Indemnification: In the event of a breach of any material term or condition of this

            Agreement, the non-breaching party may seek appropriate redress. In the event of litigation over

            the breach of this Agreement, the prevailing party shall be entitled to have its costs and reasonable

            counsel fees paid by the non-prevailing party.

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                     14.Documentation: The Parties agree to take such further action and execute and deliver

            such additional documents as may be reasonably necessary or appropriate to effectuate the terms

            of this Agreement.

                     15. No Presumption Against Drafter: The Parties acknowledge and agree that: (a) this

            Agreement has been freely negotiated by the Parties, (b) in any controversy, dispute or contest

            over the meaning, interpretation, validity, or enforcement of this Agreement, or any of its terms

            and conditions, there shall be no inference, presumption or conclusion drawn whatsoever against

            any Party by virtue of that Party having drafted or participating in the drafting of this Agreement

            or any portion thereof, and (c) they hereby knowingly, intelligently and voluntarily waive the

            benefit of any law, court decision, or rule of contract construction that would otherwise permit a

            court to construe any perceived ambiguity in this Agreement against the drafter of this Agreement.

                     16. Representations: Defendants warrant that no promise or inducement has been offered

            except as herein set forth. Plaintiff agrees that this Agreement has been executed by her without

            reliance upon any statement or representation by the person or parties released, or their

            representatives, or attorneys, in any manner, oral, written, implied or otherwise, concerning the

            nature and extent of the alleged injuries and/or damages and/or legal liability therefore.

                     17. Invalidity: If any provision of this Agreement shall for any reason be held to be

            invalid or unenforceable, any such invalidity or unenforceability shall not affect any other

            provision hereof or thereof, but this Agreement shall be construed as if such invalid or

            unenforceable provision had never been contained herein or therein.

                   18. Binding Effect: This Agreement shall be binding upon and inure to the benefit of
           each of the Parties hereto and, as applicable, their respective divisions, subsidiaries, affiliated

           companies, officers, directors, servants, agents, Plaintiff’s heirs, executors, administrators,

           successors and assigns.

                     19. Governing Law: This Agreement shall be governed by, and construed and enforced

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            in accordance with, the laws of the State of New York without regard to its conflict of law

            provisions.

                     20. Headings: Headings of the paragraphs of this Agreement are for the convenience of

            the Parties only and shall be given no substantive or interpretive effect whatsoever.

                     21. Entire Agreement: This Agreement constitutes the entire agreement between the

            Parties, and the Parties hereby represent and warrant there are no other agreements, promises,

            representations, or warranties made or given in connection with any of the foregoing or concerning

            the subject matter of this Agreement that are not contained or expressed herein.

                     22. Amendments and Waivers: The provisions of this Agreement shall not be modified

            or amended unless by written agreement entered into and signed by all Parties to this Agreement,

            and may be waived only by a written waiver signed by all Parties. No waiver, modification or

            amendment shall extend to or affect any obligation not expressly waived, modified or amended,

            or impair any right related to such obligation.



                     IN WITNESS WHEREOF, the Parties have read and agree to be bound by the above

            terms and conditions and have entered into this Agreement effective as of the date set forth above.

            Plaintiff hereby certifies that she is entering into this Agreement knowingly and voluntarily and

            not as a result of any pressure, coercion or duress. Plaintiff is strongly encouraged to consult with

            counsel prior to the signing of this Agreement. Plaintiff acknowledges that Plaintiff sought legal

            counsel before entering into this agreement.

                     The individual signatory for Defendants, by the signature below, warrants that she is

            authorized to enter into this agreement by and on behalf of the Defendants for whom this

            Agreement is executed.


            By:


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                                                                 4/29/2022

           Tyler Aposhian                                        Date



           Stanley Wolfson                                       Date



           Ruschmeyer Hospitality Group LLC                      Date


           The Real Hospitality Group, LLC                       Date


           John Parker                                           Date

           Ben Seidel                                            Date

           Steven Goldman                                        Date




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                 Tyler Aposhian                                    Date



                 Stanley Wolfson                                   Date



                 Ruschmeyer Hospitality Group LLC                  Date


                 The Real Hospitality Group, LLC                   Date


                 John Parker                                      Date

                 Ben   Sett-,/k{
                 Steven Goldman




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